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                                                                                             FILED
                           UNITED STATES DISTRICT COURT                               EAsr~·Riiiflr'}fc1r'i~'A'l1sAs
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION                                            AUG ·oa 2022
UNITED STATES OF AMERICA                     )     No. 4:22-cr-00071 KGB          By:TAMMY ~ ~ R K
                                             )
                                                                                                           DEPCLERK
v.                                           )
                                             )
MADISON CLARK,                               )
KESHOUN COLEMAN,                             )
DEUNTAE DIGGS,                               )
DERRICK HARRIS,                              )
KARL HARRIS,                                 )
TERRENCE HOLMAN,                             )
BRELYN LONDON,                               )
BRANDON SHAVERS,                             )
KHISIMMS,                                    )
QUENTIN WATSON,                              )
KAYLAH BANKS,                                )
LEQUON BREEDLOVE,                            )
JONATHON BRYANT,                             )
WALLACE FOOTE,                               )
WINSLEY HENRY, IV,                           )
KEARY HILLIARD,                              ),
LATISHA LAK,                                 )
JOHNATHAN LAWRENCE,                          )     Title   18, U.S.C.   § 1344
RACIE PHILLIPS, JR.,                         )     Title   18, U.S.C.   § 1349
ANDREA PLUMMER,                              )     Title   18, U.S.C.   § 1343
CARRINGTON WALKER, and                       )     Title   18, U.S.C.   § 1028A
CORNELIUS WILLIAMS                           )     Title   18, U.S.C.   § 922(g)(l)


                              SUPERSEDING INDICTMENT

THE GRAND WRY CHARGES THAT:

                                             COUNTl

                             (Conspiracy to Commit Bank Fraud)

       From in or about January 2021, through in or about August 2021, in the Eastern District

of Arkansas and elsewhere, the defendants,

     MADISON CLARK, KESHOUN COLEMAN, DEUNTAE DIGGS, DERRICK HARRIS,
     KARL HARRIS, TERRENCE HOLMAN, BRELYN LONDON, BRANDON SHAVERS,
       KHI SIMMS, QUENTIN WATSON, KAYLA BANKS, LEQUON BREEDLOVE,
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 JONATHON BRYANT, WALLACE FOOTE, WINSLEY HENRY IV, KEARY HILLIARD,
LATISHA LAK, JOHNATHAN LAWRENCE, RACIE PHILLIPS JR., ANDREA PLUMMER,
             CARRINGTON WALKER, and CORNELIUS WILLIAMS,

along with others known and unknown to the Grand Jury, voluntarily and intentionally conspired

and agreed to execute and attempt to execute a scheme to defraud Bank of America (BOA), and

to obtain and attempt to obtain money owned and under the control of BOA and other banks, by

means of materially false and fraudulent pretenses, representations, and promises, all at a time

when the accounts of BOA were insured by the Federal Deposit Insurance Corporation, in

violation of Title 18, United States Code, Section 1344.

A.       INTRODUCTION

         At all times material herein:

         1.     Bank of America (BOA) served as the issuing financial institution for

unemployment debit cards for multiple state unemployment systems. Some states issue

unemployment payments in the form of a debit card. California does this through the California

Employment Development Department.

         2.     As part of its duties, BOA had a role in managing and processing transactions made

with these cards. BOA also conducted fraud prevention or mitigation activities regarding these

cards.

         3.     BOA outsourced some of these duties regarding unemployment debit cards to other

companies, one of which was TTEC, a customer service company formerly known as TeleTech.

         4.     MADISON CLARK was a contract employee of TTEC. Her duties included

answering consumer questions involving unemployment debit cards as well as claims processing

for unemployment debit cards.

         5.     BOA was and is insured by the Federal Deposit Insurance Corporation and has

locations throughout the country, including in the Eastern District of Arkansas.
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B.      THE SCHEME

       From on or about January 26, 2021, to in or about August 2021, in the Eastern District of

Arkansas and elsewhere, the defendants, listed below, and others known and unknown to the Grand

Jury, with intent to defraud, voluntarily and intentionally devised and intended to devise a scheme

to defraud BOA, and to obtain money and property by means of materially false and fraudulent

pretenses, representations, and promises.

C.     MANNER AND MEANS

        1.      When an unemployment cardholder claimed a transaction was not authorized, BOA

could grant a "provisional credit" to that card to reimburse the amount of the disputed transaction.

It was part of the scheme and artifice to defraud that defendant MADISON CLARK accessed BOA

systems without authorization to reissue debit cards, remove fraud blocks, and add provisional

credits to unemployment debit card accounts, resulting in more than $2 million in losses.

       2.       In transferring the money at BOA to add provisional credits to unemployment debit

card accounts, with each transaction, defendant MADISON CLARK caused an interstate wire

transfer to be made.

       3.       It was part of the scheme and artifice to defraud that KHI SIMMS, and the

defendants listed below, and others SIMMS recruited, known and unknown to the Grand Jury,

obtained fraudulent debit cards in order to withdraw the funds MADISON CLARK made

available. In withdrawing those funds, with each withdrawal, the defendants listed below caused

an interstate wire transfer to be made.

       4.       Defendant MADISON CLARK was not authorized to make the transfers and did

so without permission, and the defendants listed below were not authorized to withdraw the funds,

all of whom received money to which they were not entitled.

       All in violation of Title 18, United States Code, Section 1349.
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                                            COUNTS2-23

                                              (Wire Fraud)

D.         THESCHEME

           Sections A, B, and C of the Indictment are incorporated as though fully set out herein.

E.         THE WIRES

           On or about the dates set forth below, in the Eastern District of Arkansas and elsewhere,

the defendants listed below, with the intent to defraud, voluntarily and intentionally and for the

purpose of executing the scheme described above, caused to be transmitted by means .of wire

communication in interstate commerce the signals and sounds, that is, transfers to or from a BOA

unemployment account, described below:

     Count                  Defendant(s)                       Date                   Amount

      2         MADISON CLARK                           04/15/2021           $7,500

      3         KESHOUN COLEMAN                         04/13/2021           $5,000

      4         DEUNTAEDIGGS                            04/14/2021           $2,500

      5         DERRICK HARRIS                          04/15/2021           $7,500

      6         KARL HARRIS                             04/13/2021           $7,500

      7         TERRENCE HOLMAN                         04/06/2021           $2,450

      8         BRELYN LONDON                           04/14/2021           $5,000

      9         BRANDON SHAVERS                         04/14/2021           $7,500

      10        KHISIMMS                                04/05/2021           $7,500

      11        QUENTIN WATSON                          04/07/2021           $7,500

      12        KAYLAH BANKS                            04/08/2021           $6,500

      13        LEQUON BREEDLOVE                        03/30/2021           $3,500

      14        JONATHON BRYANT                         03/30/2021           $4,350
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     15        WALLACE FOOTE                           03/29/2021          $5,000

     16        WINSLEY HENRY IV                       03/29/2021           $2,500

     17        KEARY HILLIARD                         04/14/2021           $3,500

     18        LATISHALAK                             03/26/2021           $5,000

     19        JONATHAN LAWRENCE                      03/30/2021           $2,500

     20        RACIE PHILLIPS JR.                     04/16/2021           $6,500

     21        ANDREA PLUMMER                         02/11/2021           $7,000

     22        CARRINGTON WALKER                      03/29/2021           $3,500

     23        CORNELIUS WILLIAMS                     03/29/2021           $2,500



All in violation of Title 18, United States Code, § 1343.

                                            COUNT24

                                     (Aggravated Identity Theft)

          In or about December 2021, in the Eastern District of Arkansas, the defendant,

                                        MADISON CLARK,

knowingly transferred, possessed, and used, without lawful authority, a means of identification of

another person during and in relation to a felony violation enumerated in 18 U.S.C. § 1028A(c),

to wit: wire fraud, knowing that the means of identification belonged to another actual person, in

violation of Title 18, United States Code, Section 1028A(a)(l).
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                                           COUNT25

                                   (Aggravated Identity Theft)

       In or about December 2021, in the Eastern District of Arkansas, the defendant,

                                          KHI SIMMS,

knowingly transferred, possessed, and used, without lawful authority, a means of identification of

another person during and in relation to a felony violation enumerated in 18 U.S.C. § 1028A(c),

to wit: wire fraud, knowing that the means of identification belonged to another actual person, in

violation of Title 18, United States Code, Section 1028A(a)(l).

                                          COUNT26

                                   (Aggravated Identity Theft)

       In or about December 2021, in the Eastern District of Arkansas, the defendant,

                                     QUENTIN WATSON,

knowingly transferred, possessed, and used, without lawful authority, a means of identification of

another person during and in relation to a felony violation enumerated in 18 U.S.C. § 1028A(c),

to wit: wire fraud, knowing that the means of identification belonged to another actual person, in

violation of Title 18, United States Code, Section 1028A(a)(l).

                                          COUNT27

                               (Felon in Possession ofa Firearm)

       A.      On or about March 9, 2022, the defendant,

                                          KHI SIMMS,

had previously and knowingly been convicted of a crime punishable by a term of imprisonment

exceeding one year, that is: Forgery 2nd, in Pulaski County, Arkansas, Circuit Court in Case

Number 60-cr-17-1141.
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        B.      On or about March 9, 2022, in the Eastern District of Arkansas, the defendant,

                                           KHI SIMMS,

knowingly possessed, in and affecting commerce, a firearm, that is: a Glock, model 45, 9 mm

pistol, bearing serial number BSFC557, in violation of Title 18, United States Code, Section

922(g)(l).

                              FORFEITURE ALLEGATION 1

       Upon conviction of any of Counts 1 through 23 of this Superseding Indictment, the

defendants, MADISON CLARK, KESHOUN COLEMAN, DEUNTAE DIGGS, DERRICK

HARRIS, KARL HARRIS, TERRENCE HOLMAN, BREYLN LONDON, BRANDON

SHAVERS, KHI SIMMS, QUENTIN WATSON, KAYLA BANKS, LEQUON BREEDLOVE,

JONATHON BRYANT, WALLACE FOOTE, WINSLEY HENRY IV, KEARY HILLIARD,

LATISHA LAK, JOHNATHAN LAWRENCE, RACIE PHILLIPS JR., ANDREA PLUMMER,

CARRINGTON WALKER, and CORNELIUS WILLIAMS, shall forfeit to the United States,

under Title 18, United States Code, Section 981(a)(l)(C) and Title 28, United States Code,

Section 2461 (c), all property, real or personal, which constitutes or is derived from proceeds

traceable to the offense.

                              FORFEITURE ALLEGATION 2

       Upon conviction of the offense alleged in Count 27 of this Superseding Indictment, the

defendant, KHI SIMMS, shall forfeit to the United States pursuant to Title 18, United States

Code, Section 924(d), Title 21, United States Code, Section 853, and Title 28, United States

Code, Section 2461 (c), all firearms and ammunition involved in the commission of the offense.


                      (END OF TEXT. SIGNATURE PAGE ATTACHED.)
